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                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

 UNITED STATES OF AMERICA                            Crim. No. 01-30043-06/USM No. 28244-177

 VERSUS                                              JUDGE ROBERT G. JAMES

 STANLEY LATRELL HAMBURG                             MAG. JUDGE KAREN L. HAYES


                                              ORDER

        Pursuant to 18 U.S.C. § 3582(c)(2), which provides for a reduction in the term of

 imprisonment imposed based on a guideline sentencing range that has subsequently been lowered

 and made retroactive by the United States Sentencing Commission under 28 U.S.C. § 994(u), the

 Court has considered whether Defendant’s sentence of imprisonment should be reduced because

 of the recent amendments to the United States Sentencing Guidelines for crack cocaine.

 Defendant in this matter was previously sentenced to a statutory minimum of 120 months.

 Therefore, in a February 15, 2008 Order, the Court indicated that it did not intend to reduce

 Defendant’s sentence of imprisonment. Defendant was ordered to file any objections no later

 than February 28, 2008. Defendant and the Government have responded, do not object to the

 Court’s determination, and waive any hearing. Accordingly,

        IT IS ORDERED that Defendant shall serve the 120-month term of imprisonment

 previously imposed.

        MONROE, LOUISIANA, this 7th day of April, 2008.
